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The following constitutes the ruling of the court and has the force and effect therein described.



Signed December 7, 2023
                                           United States Bankruptcy Judge
______________________________________________________________________




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

          In re:                                                  §
                                                                  §     Chapter 7
          GOODMAN NETWORKS, INC.,                                 §
                                                                  §     Case No. 22-31641-mvl-7
                    Debtor.                                       §

                   ORDER GRANTING TRUSTEE’S EXPEDITED MOTION TO APPROVE
                   TRANSACTION WITH AMRR REGARDING ONEPATH SYSTEMS, LLC

                   CAME ON FOR HEARING the Trustee’s Expedited Motion to Approve Transaction with

      AMRR Regarding OnePath Systems, LLC (the “Motion”),1 filed by Scott M. Seidel

      (the “Trustee”), the duly appointed trustee for the estate (the “Estate”) of Goodman Networks, Inc.

      (the “Debtor”) in the above-styled bankruptcy case (the “Bankruptcy Case”), pursuant to which

      the Trustee seeks authority to enter into a transaction (the “Transaction”) with MBG Holdings,

      Inc. f/k/a American Metals Recovery and Recycling, Inc. (“AMRR”) by which AMRR will sell its

      membership and equity interests in OnePath Systems, LLC (“OnePath”) to Albers Aerospace




      1
                   Capitalized terms used but not defined herein have the meanings assigned to them in the Motion.

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 Holdings, LLC (“Albers”) pursuant to the terms of that certain Membership Interest Purchase

 Agreement (the “MIPA”).

        As set forth in the Motion, the Estate and/or its wholly owned subsidiary, GNET ATC,

 LLC (“GNET”) assert claims and causes of action against AMRR and its subsidiaries of not less

 than $40 million based on, alternatively, the AMRR Note, fraudulent transfer, breach of fiduciary

 duty, constructive and resulting trust, or otherwise (the “AMRR Claims”). In partial compromise

 of the AMRR Claims, the Trustee seeks authority to enter into the Transaction while preserving

 the rights of all parties regarding the precise nature of the AMRR Claims and any interests that

 may be asserted in the AMRR Claims or the proceeds therefrom.

        Separately, the Motion sought approval of the Limited Settlement Agreement attached as

 Exhibit “A” to the Motion. As a result of continued negotiations with AMRR, said agreement is

 moot and the Trustee orally withdrew his request for the approval thereof. Furthermore, as

 announced on the record, AMRR has agreed to a springing, commercially reasonable deposit

 account control agreement (the “DACA”) for each account in which AMRR holds cash or will

 hold cash, including all proceeds of the Transaction and MIPA.

        The Court finds that notice and service of the Motion and the Transaction were sufficient

 and appropriate under the circumstances. The Court further finds that any objection to the Motion

 has been resolved or, to the extent not resolved, is overruled by this Order. The Court further finds

 and concludes that: the Trustee has properly exercised his sound business judgment in entering

 into the Transaction; that AMRR, under the control of its new Chief Restructuring Officer, Joseph

 Baum, is properly exercising its and his sound business judgment in selling OnePath and the

 Business; that the value that AMRR is receiving for the sale of OnePath and the Business is fair,

 reasonable, adequate, and represents reasonably equivalent value; that the value the Estate is


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 receiving in the Transaction is fair, reasonable, adequate, and represents reasonably equivalent

 value; that approval of the Transaction is in the best interests of the Estate and that the Transaction

 is otherwise fair and reasonable; that Albers is a good faith buyer for value of OnePath and the

 Business and is not related to any potential defendant of the Estate; and that the standards for

 approval of the Motion under Federal Rule of Bankruptcy Procedure 9019 have been met based

 on the evidence presented.

         Accordingly, having considered the evidence and the law, and the arguments of the parties,

 it is hereby:

         ORDERED that the Motion is GRANTED as provided for herein; it is further

         ORDERED that the Transaction is APPROVED, and that the Trustee is authorized to

 execute such documents and agreements as are necessary and advisable to effectuate the

 Transaction; it is further

         ORDERED that, at the closing of the MIPA, AMRR shall hold the $2.2 million up-front

 payment (the “Cash Payment”), the Note, and AMRR’s rights to the Contract Holdback, the

 Indemnification Holdback, and the Earnout, in trust and for the benefit of the Trustee (for the

 Estate), and that the Trustee shall hold first priority, perfected, valid, and unavoidable security

 interests against the same, and that the Trustee may take all appropriate, necessary, or advisable

 actions to evidence or perfect the same; it is further

         ORDERED that, at said closing or as soon as reasonably possible thereafter: (i) AMRR

 shall assign the Note to the Trustee, without recourse, warranty, or representation of any kind; and

 (ii) AMRR shall transfer the Cash Payment to the Trustee by wire transfer, and that, upon receipt

 of any of the Contract Holdback, the Indemnification Holdback, and the Earnout, AMRR shall

 transfer the same to the Trustee, subject to any limitation on the same in the event of any possible


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 AMRR bankruptcy case, in which event the Trustee is authorized to take such action in any such

 case with respect to the foregoing or any other matter as he determines in his reasonable business

 judgment without necessity of further order of this Court, unless any such action involves the

 release of any person or cause of action, which shall remain subject to prior approval from this

 Court; it is further

          ORDERED that AMRR (and any of its applicable subsidiaries) shall receive a dollar-for-

 dollar credit against all amounts it owes to the Estate and to GNET for any of the Cash Payment,

 the Contract Holdback, the Indemnification Holdback, and the Earnout, when it transfers all or any

 portion of the same to the Trustee, and a credit for the face amount of the Note once assigned and

 delivered to the Trustee; it is further

          ORDERED that the sale of the Business and OnePath and the consideration provided by

 Albers under the MIPA is fair and reasonable and shall be deemed for all purposes to constitute a

 transfer for reasonably equivalent value and fair consideration under the Bankruptcy Code and any

 other applicable law and shall not be avoidable or voidable, whether under the Bankruptcy Code

 or otherwise; it is further

          ORDERED that, upon the closing of the MIPA and the payment of the Cash Payment and

 delivery of the Note to AMRR, the Trustee is authorized to release any and all claims and interests

 (including security interests, liens, and trust claims) of the Debtor, the Estate, and GNET against

 the Business, OnePath,2 and its property, such that Albers may own OnePath free and clear of such

 claims and interests, and the Trustee is further authorized to execute one or more documents,

 agreement, and instruments (including UCC filings) to evidence the same; it is further



           2
                     For the avoidance of doubt, such release does not include the release of any claim that the Estate or
 GNET may have against any transferee or subsequent transferee of any property of or by OnePath or of any prior
 director, officer, or fiduciary of OnePath (prior to Mr. Baum’s appointment).

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         ORDERED that, for the avoidance of doubt, no release of any party, except the limited

 release of AMRR for consideration actually paid to the Trustee in the Transaction and the release

 of the Business and OnePath provided for above, is approved or is involved in the Transaction,

 and no other obligation of AMRR or any other subsidiary of AMRR is released, waived, or

 prejudiced; it is further

         ORDERED that all claims, rights, interests, liens, security interests, and ownership that

 UMB Bank, N.A. as indenture trustee and U.S. Bank, N.A. as collateral agent for various secured

 bonds issued by the Debtor and due in 2022 may have in, to, or against AMRR or any of its

 affiliates, the AMRR Note and claims relating thereto, or the property of AMRR or any of its

 affiliates, including the Business or any property the subject of the Transaction, and all proceeds

 of the MIPA related to the Transaction are preserved and retained and shall transfer and attach to

 all proceeds of the Transaction, including the Cash Payment, the Note, the Contract Holdback, the

 Indemnification Holdback, and the Earnout, with the same validity, extent, and priority as

 otherwise exists, and subject to all defenses thereto, and nothing in this Order adjudicates, waives,

 affects, releases, or prejudices any such claims, rights, interests, liens, security interests,

 ownership, or defenses, all of which are fully preserved; it is further

         ORDERED that all claims, rights, interests, liens, security interests, and ownership,

 including remedies for constructive trust that FedEx Supply Chain Logistics & Electronics, Inc.

 may have in, to, or against AMRR or any of its affiliates, the AMRR Note and claims relating

 thereto, or the property of AMRR or any of its affiliates, including the Business or any property

 the subject of the Transaction, and all proceeds of the MIPA related to the Transaction are

 preserved and retained and shall transfer and attach to all proceeds of the Transaction, including

 the Cash Payment, the Note, the Contract Holdback, the Indemnification Holdback, and the


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 Earnout, with the same validity, extent, and priority as otherwise exists, and subject to all defenses

 thereto, and nothing in this Order adjudicates, waives, affects, releases, or prejudices any such

 claims, rights, interests, liens, security interests, ownership, or defenses, all of which are fully

 preserved; it is further

          ORDERED that AMRR shall promptly deliver an executed DACA to the Trustee covering

 AMRR’s cash, and the Cash Payment, the Contract Holdback, the Indemnification Holdback, and

 the Earnout, and this Court shall resolve, on an expedited hearing, any dispute regarding the form

 of the same; it is further

          ORDERED that the Trustee shall open a new, segregated account, into which he shall

 deposit all payment, funds, and other consideration from the Transaction, including the Cash

 Payment and, if any, payments on the Note, the Contract Holdback, the Indemnification Holdback,

 and the Earnout, and which funds and account the Trustee shall not use without separate order

 from the Court upon such motion and notice as may be proper; it is further

          ORDERED that this Order shall be immediately enforceable upon its entry; it is further

          ORDERED that this Court shall retain jurisdiction to the maximum extent possible to

 enforce and to interpret this Order and any underlying transactional document respecting the

 Transaction, including to interpret, enforce, and collect on the Note.

                                            # # # END OF ORDER # # #




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